Case 1:10-cv-00035-RPM-BNB Document 7 Filed 02/04/10 USDC Colorado Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 10-cv-00035-RPM-BNB

  VICTORIA WELCH,

         Plaintiff,

  v.

  PORTFOLIO RECOVERY ASSOCIATES, LLC, a Delaware limited liability company,

         Defendant.


                STIPULATION OF DISMISSAL WITH PREJUDICE
  ______________________________________________________________________

         IT IS HEREBY STIPULATED AND AGREED by and between the parties hereto,

  by their respective undersigned attorneys of record pursuant to Fed.R.Civ.P.

  41(a)(1)(A)(ii) that the above-entitled action has been settled and the parties hereby

  stipulate to its dismissal on its merits with prejudice with each party to pay her or its own

  attorney’s fees and costs, and pray that a judgment of dismissal with prejudice and on

  the merits be entered in the above entitled action pursuant hereto.

  Dated: February 4, 2010.

  Respectfully submitted,


  s/ David M. Larson                         s/ Louis Leonard Galvis
  ___________________________                _____________________
  David M. Larson, Esq.                      Louis Leonard Galvis, Esq.
  405 S. Cascade Avenue, Suite 305           Sessions, Fishman, Nathan & Israel, LLP
  Colorado Springs, Colorado 80903           645 Stonington Lane
  Telephone: (719) 473-0006                  Ft. Collins, CO 80525
  Attorney for Plaintiff                     Telephone: (970) 223-4420
                                             Attorneys for Defendant
